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Peggy Hunt (Utah State Bar No. 6060)
DORSEY & WHITNEY LLP
111 South Main Street, Suite 2100
Salt Lake City, Utah 84111-2176
Telephone: (801) 933-7360
Facsimile: (801) 933-7373
Email: hunt.peggy@dorsey.com

Attorneys for Court-Appointed Receiver R. Wayne Klein

            UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION

    SECURITIES AND EXCHANGE                             EIGHTEENTH INTERIM FEE
    COMMISSION,                                        APPLICATION FOR RECEIVER
                                                     AND RECEIVER'S PROFESSIONALS
                        Plaintiff,                   FOR SERVICES RENDERED FROM
            v.                                          JANUARY 1, 2019 THROUGH
                                                           DECEMBER 31, 2019
    NATIONAL NOTE OF UTAH, LC, a Utah
    Limited Liability Company and WAYNE                          2:12-cv-00591-BSJ
    LaMAR PALMER, and individual,

                        Defendants.                        The Honorable Bruce S. Jenkins


         In accordance with the Order Appointing Receiver and Staying Litigation (the

“Receivership Order”), 1 R. Wayne Klein, the Court-Appointed Receiver (the “Receiver”) of

National Note of Utah, LC (“National Note” or “NNU”), as well as certain subsidiaries and entities

affiliated with National Note, and the assets of Wayne LaMar Palmer (“Palmer”), collectively, the

“Receivership Entities” hereby submits this Eighteenth Interim “Fee Application,” seeking

approval by the Court of fees and expenses incurred by the Receiver, the Receiver’s forensic

accountants, Klein and Associates, PLLC (“Klein and Associates”), and the Receiver’s legal


1
     Docket No. 9.




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counsel, Dorsey & Whitney LLP (“Dorsey”), for the period of January 1, 2019 through December

31, 2019 (the “Application Period”), and authorization to pay all authorized fees and expenses

from unencumbered funds of the Receivership Estate. The Receiver and Klein and Associates are

seeking approval of fees in the total amount of $13,625.00, and Dorsey is seeking approval of fees

in the total amount of $25,118.50 and expense reimbursement in the amount of $22.50.

         This Fee Application was provided to the United States Securities and Exchange

Commission (“SEC”) for review, comment and objection prior to filing. The SEC has reviewed

the Fee Application and the Receiver understands that there is no objection by the SEC to relief

sought herein.

         In support hereof, the Receiver states as follows.

                                      I.      BACKGROUND

         1.        On June 25, 2012, this case was commenced by the SEC against Defendants Palmer

and National Note in this Court. The SEC alleged, among other things, that Defendants Palmer

and National Note engaged in securities fraud and operated a scheme that took over $100 million

from more than 600 investors.

         2.        The SEC filed several ex parte motions on June 25, 2012, all of which were granted

by the Court. In particular, the Court entered the Receivership Order, appointing the Receiver and

authorizing the Receiver to employ professionals to assist him with his duties. 2

         3.        Upon his appointment, and in accordance with the Receivership Order, the Receiver

employed the Dorsey as his legal counsel and Klein and Associates as his forensic accountants,


2
    Receivership Order ¶ 58.




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and such retention was approved by the Court. 3 Neither the Receiver nor any of his professionals

have entered into an any agreement, written or oral, express or implied, with any person or entity

concerning the amount of compensation paid or to be paid from the Receivership Estate, or any

sharing thereof.

         4.        On December 9, 2013, the Court entered an Order approving the Receiver’s first

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

June 25, 2012 Through December 31, 2012, 4 allowing and authorizing payment of $320,914.50

to Klein & Associates, and $103,730.75 to Dorsey for fees and services rendered during the

applicable period, and payment of $38,841.94 to Klein & Associates, and $1,599.82 to Dorsey for

reimbursement of out of pocket expenses for the same period. These fees and costs have been paid

by the Receiver as allowed pursuant to the Court’s Order.

         5.        On July 9, 2014 the Court entered an Order approving the Receiver’s Second

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

January 1, 2013 Through June 30, 2013, 5 allowing and authorizing payment of $354,736.80 in

fees for services to Klein & Associates, and $254,457.25 to Dorsey for fees for services rendered

during the applicable period, and payment of $3,659.48 to Klein & Associates, and $12,089.48 to

Dorsey for reimbursement of out of pocket expenses for the same period. These fees and costs

have been paid by the Receiver as allowed pursuant to the Court’s Order.



3
    Docket No. 14 (Order Authorizing Receiver to Employ Professionals).
4
    Docket No. 555.
5
    Docket No. 697.




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         6.        On December 4, 2014 the Court entered an Order approving the Receiver’s Third

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

July 1, 2013 Through December 31, 2013, 6 allowing $311,939.60 in fees for services to Klein &

Associates, and $301,985.50 to Dorsey for fees for services rendered during the applicable period,

and payment of $17,244.36 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, except that 20% of all

allowed fees were to be held back pending further order of the Court. These fees and costs

(excepting the holdback amounts) have been paid by the Receiver as allowed pursuant to the

Court’s Order. The held back fees are being separately held by the Receiver.

         7.        On August 28, 2015 the Court entered an Order approving the Receiver’s Fourth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

January 1, 2014 Through December 31, 2014, 7 allowing $351,829.00 in fees for services to Klein

& Associates, and $431,164.50 to Dorsey for fees for services rendered during the applicable

period, and payment of $30,149.94 to Dorsey for reimbursement of out of pocket expenses for the

same period. The Order authorized the Receiver to pay all fees and expenses, and these amounts

have been paid.

         8.        On November 12, 2015, the Court entered an Order approving the Receiver’s Fifth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

January 1, 2015 Through June 30, 2015, 8 allowing $125,790.50 in fees for services to Klein &


6
    Docket No. 828.
7
    Docket No. 954.
8
    Docket No. 1013.



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Associates, and $254,063.50 to Dorsey for fees for services rendered during the applicable period,

and payment of $14,354.36 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, and these amounts have

been paid.

         9.        On March 14, 2016, the Court entered an Order approving the Receiver’s Sixth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

July 1, 2015 Through September 30, 2015 as modified, 9 allowing $51,867.50 in fees for services

to Klein & Associates, and $65,240.00 to Dorsey for fees for services rendered during the

applicable period, and payment of $8,760.30 to Dorsey for reimbursement of out of pocket

expenses for the same period. The Order authorized the Receiver to pay all fees and expenses, and

these amounts have been paid.

         10.       On June 14, 2016, the Court entered an Order approving the Receiver’s Seventh

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

October 1, 2015 Through March 31, 2016 as modified, 10 allowing $129,552.50 in fees for services

to Klein & Associates, and $180,037.13 to Dorsey for fees for services rendered during the

applicable period, and out of pocket expenses for the same period. The Order authorized the

Receiver to pay all fees and expenses, and these amounts have been paid.

         11.       On November 8, 2016, the Court entered an Order approving the Receiver’s Eighth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from



9
     Docket No. 1055.
10
     Docket No. 1168.




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April 1, 2016 Through June 30, 2016 As Modified, 11 allowing $39,770.00 in fees for services to

Klein & Associates, and $103,176.75 to Dorsey for fees for services rendered during the applicable

period, and payment of $1,762.92 to Dorsey for reimbursement of out of pocket expenses for the

same period. The Order authorized the Receiver to pay all fees and expenses, and these amounts

have been paid.

         12.       On December 13, 2016, the Court entered an Order approving the Receiver’s Ninth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

July 1, 2016 Through September 30, 2016, 12 allowing $24,565.00 in fees for services to Klein &

Associates, and $48,101.92 to Dorsey for fees for services rendered during the applicable period,

and payment of $1,025.42 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, and these amounts have

been paid.

         13.       On March 2, 2017, the Court entered an Order approving the Receiver’s Tenth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

October 1, 2016 Through December 31, 2016, 13 allowing $16,325.00 in fees for services to Klein

& Associates, and $38,557.50 to Dorsey for fees for services rendered during the applicable period,

and payment of $711.33 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, and these amounts have



11
     Docket No. 1230.
12
     Docket No. 1236.
13
     Docket No. 1264.




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been paid.

         14.       On June 1, 2017, the Court entered an Order approving the Receiver’s Eleventh

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

January 1, 2017 Through March 31, 2017, 14 allowing $13,505.00 in fees for services to Klein &

Associates, and $30,025.75 to Dorsey for fees for services rendered during the applicable period,

and payment of $515.94 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, and these amounts have

been paid.

         15.       On September 12, 2017, the Court entered an Order approving the Receiver’s

Twelfth Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered

from April 1, 2017 Through June 30, 2017, 15 allowing $12,207.50 in fees for services to Klein &

Associates, and $60,594.00 to Dorsey for fees for services rendered during the applicable period,

and payment of $290.00 to Dorsey for reimbursement of out of pocket expenses for the same

period. The Order authorized the Receiver to pay all fees and expenses, and these amounts have

been paid.

         16.       On January 17, 2018, the Court entered an Order approving the Receiver’s

Thirteenth Interim Fee Application for Receiver and Receiver’s Professionals for Services

Rendered from July 1, 2017 Through September 30, 2017, 16 allowing $9,898.00 in fees for services

to Klein & Associates, and $13,237.50 to Dorsey for fees for services rendered during the


14
     Docket No. 1264.
15
     Docket No. 1314.
16
     Docket No. 1342.



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applicable period, and payment of $108.75 to Dorsey for reimbursement of out of pocket expenses

for the same period. The Order authorized the Receiver to pay all fees and expenses, and these

amounts have been paid.

         17.       On August 15, 2018, the Court entered an Order approving in part and denying in

part the Receiver’s Fourteenth Interim Fee Application for Receiver and Receiver’s Professionals

for Services Rendered from October 1, 2017 Through December 31, 2017. 17 The Court allowed

$10,727.50 in fees for services to Klein & Associates, $27,539.36 to Dorsey for fees for services

rendered during the applicable period, and payment of $1,373.40 to Dorsey for reimbursement of

out of pocket expenses for the same period. The Order authorized the Receiver to pay all allowed

fees and expenses, and these amounts have been paid.

         18.       Also on August 15, 2018, the Court entered an Order approving in part and denying

in part the Receiver’s Fifteenth Interim Fee Application for Receiver and Receiver’s Professionals

for Services Rendered from January 1, 2018 Through March 31, 2018, 18 allowing $11,542.50 in

fees for services to Klein & Associates, $21,724.59 to Dorsey for fees for services rendered during

the applicable period, and payment of $195.84 to Dorsey for reimbursement of out of pocket

expenses for the same period. The Order authorized the Receiver to pay all allowed fees and

expenses, and these amounts have been paid.

         19.       On October 11, 2018, the Court entered an Order approving the Receiver’s

Sixteenth Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered


17
     Docket No. 1413.
18
     Docket No. 1414.




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from April 1, 2018 through June 30, 2018, 19 allowing $15,310.00 in fees for services to Klein &

Associates, $24,146.50 to Dorsey for fees for services rendered during the applicable period, and

payment of $541.26 to Dorsey for reimbursement of out of pocket expenses for the same period.

The Order authorized the Receiver to pay all allowed fees and expenses, and these amounts have

been paid.

         20.       On May 3, 2019, the Court entered an Order approving the Receiver’s Seventeenth

Interim Fee Application for Receiver and Receiver’s Professionals for Services Rendered from

July 1, 2018 through December 31, 2018, 20 allowing $11,762.50 in fees for services to Klein &

Associates, $14,552.00 to Dorsey for fees for services rendered during the applicable period, and

payment of $357.06 to Dorsey for reimbursement of out of pocket expenses for the same period.

The Order authorized the Receiver to pay all allowed fees and expenses, and these amounts have

been paid.

         21.       During the present Application Period, the Receiver and his professionals have

provided actual and necessary services for the benefit of the Receivership Estate which are set

forth in greater detail below. The Receiver respectfully submits that the fees and expenses

requested in the Fee Application are reasonable and should be approved.

         22.       As noted above, the Receiver submitted the Fee Application to the SEC for review,

comment and objection prior to filing. The SEC has reviewed the Fee Application and informed

the Receiver that it has no objection to the fees and expenses requested herein.




19
     Docket No. 1427.
20
     Docket No. 1453.



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                                   II.     SERVICES PERFORMED

          23.       To date, the Receiver has filed the following reports with the Court: Initial Report

 and Liquidation Plan, which includes a status report for the period of June 25, 2012 through

 September 30, 2012; 21 Second Status Report for the period of October 1, 2012 through December

 31, 2012; 22 Third Status Report for the period of January 1, 2013 through March 31, 2013; 23 Fourth

 Status Report for the period of April 1, 2013 through June 30, 2013; 24 Fifth Status Report for the

 period of July 1, 2013 through September 30, 2013; 25 Sixth Status Report for the period of October

 1, 2013 through December 31, 2013; 26 Seventh Status Report for the period of January 1, 2014

 through March 31, 2014; 27 Eighth Status Report for the period of April 1, 2014 through June 30,

 2014; 28 Ninth Status Report for the period of July 1, 2014 to September 30, 2014; 29 Tenth Status

 Report for the period of October 1, 2014 to December 31, 2014; 30 Eleventh Status Report for the




 21
      Docket No. 73.
 22
      Docket No. 170.
 23
      Docket No. 288.
 24
      Docket No. 408.
 25
      Docket No. 510.
 26
      Docket No. 598.
 27
      Docket No. 639.
 28
      Docket No. 710.
 29
      Docket No. 808.
 30
      Docket No. 889.




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 period of January 1, 2015 to March 31, 2015; 31 the Twelfth Status Report for the period of April

 1, 2015 to June 30, 2015; 32 the Thirteenth Status Report for the period of July 1, 2015 to September

 30, 2015; 33 the Fourteenth Status Report for the period of October 1, 2015 through December 31,

 2015; 34 the Fifteenth Status Report for the period of January 1, 2016 through March 31, 2016; 35

 the Sixteenth Status Report for the period of April 1, 2016 through June 30, 2016; 36 the

 Seventeenth Status Report for the period of July 1, 2016 through September 30, 2016; 37 the

 Eighteenth Status Report for the period of October 1, 2016 through December 31, 2016; the

 Nineteenth Status Report for the period of January 1, 2017 through March 31, 2017; the Twentieth

 Status Report for the period of April 1, 2017 through June 30, 2017; 38 the Twenty-First Status

 Report for the period of July 1, 2017 through September 30, 2017; 39 and the Twenty-Second Status

 Report for the period of October 1, 2017 through December 31, 2017; 40 the Twenty-Third Status




 31
      Docket No. 955.
 32
      Docket No. 979.

 33
      Docket No. 1045.
 34
      Docket No. 1070.
 35
      Docket No. 1127.
 36
      Docket No. 1177.
 37
      Docket No. 1216.
 38
      Docket No. 1307.
 39
      Docket No. 1324.
 40
      Docket No. 1343.




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 Report for the period of January 1, 2018 through March 31, 2018; 41 the Twenty-Fourth Status

 Report for the period of April 1, 2018 through June 30, 2018; 42 the Twenty-Fifth Status Report for

 the period of July 1, 2018 through September 30, 2018; 43 the Twenty-Sixth Status Report for the

 period of October 1, 2018 through December 31, 2018; 44 the Twenty-Seventh Status Report for the

 period of January 1, 2019 through April 30, 2019; 45 the Twenty-Eighth Status Report for the period

 of May 1, 2019 through June 30, 2019; 46 the Twenty-Ninth Status Report for the period of July 1,

 2019 through September 30, 2019; 47 and the Thirtieth Status Report for the period of October 1,

 2019 through December 31, 2019; 48 These Status Reports provide a comprehensive description of

 the services performed by the Receiver and his professionals and are incorporated herein by

 reference.

          24.       The efforts of the Receiver and his professionals giving rise to the fees and costs

 incurred during and requested for this Application Period are detailed in the Twenty-Seventh

 through Thirtieth Status Reports, which are incorporated herein by reference.

          25.       In general, during the Application Period, the Receiver and his professionals


 41
      Docket No. 1373.
 42
      Docket No. 1404.
 43
      Docket No. 1427.
 44
      Docket No. 1447.
 45
      Docket No. 1451.
 46
      Docket No. 1456.
 47
      Docket No. 1457.
 48
      Docket No. 1462.



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 primarily provided services related to the following:

                    A.     Disposition of Assets: The Receiver and his professionals attended to all

          aspects of disposing of real property assets during the Application Period. Efforts in this

          regard are focused on minimizing expense while maximizing the value of the Receivership

          Estate. During the Application Period, the Receiver’s work in this area related to the

          closing on the sale of the “Overland Trails” property located in Eagle Mountain, Utah

          (which was sold at auction on December 19, 2018), and lots in the “Elkhorn Ridge”

          subdivision located near Malad, Idaho (which sold at auction on December 17, 2019 and

          is awaiting the closings on the sales).

                    B.     Asset Recovery: The Receiver and his professionals have continued to

          provide services in recovering assets of the Receivership Estate. During the Application

          Period, this work has included collecting on two remaining judgments and the final

          amounts owed on three prior settlement agreements. This work is completed.

                    C.     Administration of the Receivership Estate: The Receiver and his

          professionals have incurred fees and expenses in administering other aspects of the

          Receivership Estate, including at least the following: preparing and filing necessary reports

          with the Court; maintaining bank accounts and books and records of the Receivership

          Estate; receiving funds; making payments necessary to preserve assets; communicating

          with investors and others; responding to investor inquiries; and, when requested, providing

          information to relevant governmental authorities.

          26.       Through the actual and necessary work of the Receiver and his professionals, the

 Receiver has provided considerable benefit to the Receivership Estate.




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                    III.   BANK ACCOUNTS OF THE RECEIVERSHIP ESTATE

          27.        The Receivership Estate currently has two bank accounts, designated as an

 ”Operating Account” and a “Real Estate Account”. The Operating Account holds funds that are

 free and clear of any interests, and as of December 31, 2019, this Account had a balance in the

 total amount of $815,805.11. The Real Estate Account is maintained to hold funds related to real

 property sales, and as of December 31, 2019, this Account had a balance in the total amount of

 $8,000. Pursuant to the Court’s Order Approving the Receiver’s Third Interim Fee Application for

 Receiver and Receiver’s Professionals for Services Rendered from July 1, 2013 Through

 December 31, 2013, 49 the Receiver has established a separate savings account tied to the Operating

 Account in which he is holding 20% of the approved professional fees incurred by him and his

 counsel. Money to open this account was transferred from the Operating Account. This account

 had a December 31, 2019 balance of $123,091.52.

          28.        If the Court approves this Fee Application, the Receiver would pay the approved

 fees and expenses from the Operating Account. Given the amount requested, the Operating

 Account has sufficient funds to pay these fees and expenses.

            IV.       REQUEST FOR COURT APPROVAL OF FEES AND EXPENSES

                                    The Receivership Order and Request

          29.        The Receivership Order provides, in relevant part, that:

                     59.    The Receiver and Retained Personnel are entitled to
                     reasonable compensation and expense reimbursement from the
                     Receivership Estates as described in the “Billing Instructions for
                     Receivers in Civil Actions Commenced by the U.S. Securities and
                     Exchange Commission” (the “Billing Instructions”) agreed to by the
                     Receiver. Such compensation shall require the prior approval of the

 49
      Docket No. 828.


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                    Court.
                    60.     Within forty-five (45) days after the end of each calendar
                    quarter, the Receiver and Retained Personnel shall apply to the
                    Court for compensation and expense reimbursement from the
                    Receivership Estate (the “Quarterly Fee Applications”). At least
                    thirty (30) days prior to filing each Quarterly Fee Application with
                    the Court, the Receiver will serve upon counsel for the Commission
                    a complete copy of the proposed Application, together with all
                    exhibits and relevant billing information in a format to be provided
                    by Commission staff.
                    61.    All Quarterly Fee Applications will be interim and will be
                    subject to cost benefit and final reviews at the close of the
                    receivership. . . .
                    62.    Quarterly Fee Applications may be subject to a holdback in
                    the amount of 20% of the amount of fees and expenses for each
                    application filed with the Court. . . . 50
          30.       The Receiver now respectfully requests that the Court enter an Order approving on

 an interim basis and authorizing payment from the Receivership Estate of the reasonable

 compensation and expenses outlined herein for the Application Period in the amounts set forth

 below.

                                      Summary of Supporting Exhibits

          31.       This Fee Application is supported by the following documents:

                •   Exhibit A includes summaries of the fees incurred for each of the billing matters:

                       o Exhibit A-1 contains a summary of the fees of the Receiver and Klein &

                             Associates; and




 50
      Receivership Order ¶¶ 5-6.



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                       o Exhibit A-2 contains a summary of Dorsey’s fees and expenses, with

                           corresponding cross references to the relevant portion of Exhibit B-2 that

                           contains more detailed time records.

               •    Exhibit B includes detailed invoices setting forth the contemporaneous time

                    records of services performed by the Receiver and Dorsey:

                       o Exhibit B-1 contains the Receiver and his firm’s invoices; and

                       o Exhibit B-2 contains Dorsey’s invoices for each matter opened with its

                           contemporaneous time records as follows:

                                  Exhibit B2-A: Case Administration – time billed to this matter

                                   includes legal services rendered in assisting the Receiver with his

                                   administration of the Receivership Estate.

                                  Exhibit B2-B: Asset Disposition – time billed to this matter includes

                                   all legal services rendered in relation to the disposition of property

                                   of the Receivership Estate.

                                  Exhibit B2-C: Asset Analysis and Recovery – time billed to this

                                   matter includes legal services rendered to assist the Receiver in his

                                   analysis and recovery of assets of the Receivership Estate, including

                                   analysis of claims, negotiation of settlement agreements,

                                   investigation, execution and collection of judgments, and services

                                   to assist the Receiver in enforcing defaulted settlement agreements.

               •    Exhibit C includes detail of actual out of pocket expenses incurred by Dorsey. All

                    expenses for which reimbursement is sought are actual and necessary expenses that




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                    were incurred by Dorsey on behalf of the Receivership Estate. None of the

                    expenses are billed at a premium, but rather are billed at Dorsey’s actual cost.


                         Summary of Fees and Expenses and Voluntary Reductions

          32.       The fees and out-of-pocket expenses requested are summarized as follows:

                              RECEIVER AND KLEIN AND                              DORSEY
                                       ASSOCIATES
            Fees              $13,625.00                             $25,118.50
            Expenses          $0.00                                  $22.20
            TOTAL             $13,625.00                             $25,140.70


          33.       The amounts requested include voluntary reductions made by the respective

 professionals in an exercise of their billing judgment. Reductions are summarized as follows:

                    A.     The Receiver and the staff of Klein & Associates actually billed 63.0 hours

          during the Application Period, which does not include an additional 2.6 hours of time

          which is not being billed, amounting to $572.50 in fees in unbilled time. See Exhibit A-

          1. The Receiver and Klein & Associates thus have made voluntary reductions in the total

          amount of $572.50.

                    B.     In an exercise of its billing judgment, Dorsey has voluntarily reduced its

          actual billed fees and expenses in the total amount of $1,585.00. See Exhibit A-2. This

          reduction does not include the additional unbilled time of Ms. Hunt, which in many

          instances, has not been billed to oversee aspects of this case.

                                           Miscellaneous Issues

          34.       The SEC has not requested a holdback of fees and expenses in this case. The

 Receiver respectfully submits that a further holdback of fees is not appropriate in this case because



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 the Receiver and his professionals have voluntarily waived additional fees that were actually

 earned, a waiver has not been requested by the SEC, and the Receiver and his professionals already

 have deferred payment of significant amounts of their actual and necessary fees and expenses.

          35.       The Receiver and his professionals understand that the authorization and payment

 of fees and expenses is interim in nature. All fees and expenses allowed on an interim basis will

 be subject to final review at the close of the case and the discharge of the Receiver when the

 Receiver files a final accounting and final fee application.

          36.       The amounts paid to Klein and Associates, PLLC for the work of the Receiver and

 his staff are not the rates actually paid to the Receiver and his staff. The billed rates are higher than

 the amounts actually paid to the Receiver and his staff as the billed rates also cover operating

 expenses, overhead, non-billed work, and employee-related expenses.

          37.       In compliance with ¶ 60 of the Receivership Order, the Fee Application, including

 the invoices in Exhibit B and Exhibit C, were provided to the SEC and after review and comment,

 the SEC has no objection to the fees and expenses requested.

                                         V.     CONCLUSION

          38.       The Receiver respectfully submits this Fee Application and requests that the Court

 enter an Order approving the actual and necessary fees and expenses incurred on behalf of and for

 the benefit of the Receivership Estate. For all of the reasons stated, the Receiver submits that he

 and his professionals have provided a significant benefit to the Receivership Estate.

          39.       There are sufficient funds in the Operating Account to pay the fees and expenses




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                                CERTIFICATE OF SERVICE

         I hereby certify that the above EIGHTEENTH INTERIM FEE APPLICATION FOR
   RECEIVER AND RECEIVER'S PROFESSIONALS FOR SERVICES RENDERED
   FROM JANUARY 1, 2019 THROUGH DECEMBER 31, 2019 was filed with the Court on
   this 24th day of January, 2020 and served via ECF on all parties who have requested notice in
   this case.


                                                       /s/ Candy Long




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